     Case 2:13-cv-05013-EFS       ECF No. 128     filed 05/03/17   PageID.1967 Page 1 of 1




                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON
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                             EASTERN DISTRICT OF WASHINGTON
 6
   UNITED STATES OF AMERICA
 7 EX REL. GARY BRUNSON,
   DONNA BUSCHE, and
 8 WALTER TAMOSAITIS, PH.D.
 9           Relators,
                                                      No: CV-13-5013-EFS.
10                                                    (Judge Edward F. Shea)
     v.
11
   BECHTEL NATIONAL INC.,                                    FILED UNDER SEAL
12 BECHTEL CORPORATION, URS
   CORPORATION, and URS
13 ENERGY & CONSTRUCTION, INC.
14        Defendants.
     _______________________________________
15
                                    NOTICE OF APPEAL
16
             Please see Notice of Appeal filed under seal (Doc. #126).
17
18                                              Respectfully submitted,
19
                                                s/ Thad M. Guyer
20                                              ____________________________
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21
                                                Attorney for Relator Brunson
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      Notice of Appeal - 1
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